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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                             )
JODI ROUVIERE and                            )
ANDRE ROUVIERE,                              )
                                             )
                              Plaintiffs,    )
                                             )
       v.                                    )       Case No. 1:18-cv-04814-LJL-SDA
                                             )
DEPUY ORTHOPAEDICS, INC. n/k/a               )
MEDICAL DEVICE BUSINESS                      )
SERVICES, INC. and HOWMEDICA                 )
OSTEONICS CORPORATION                        )
d/b/a STRYKER ORTHOPAEDICS,                  )
                                             )
                              Defendants.    )
                                             )

      JOINT STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
    HOWMEDICA OSTEONICS CORP.’S MOTION FOR SUMMARY JUDGMENT

       Howmedica Osteonics Corp. (“HOC”), pursuant to Federal Rule of Civil Procedure 56(c),

Local Rule 56.1 and Judge Liman’s Individual Practices, and in support of its contemporaneously

filed Motion for Summary Judgment, has met and conferred with Plaintiffs and states that the

following material facts are not in genuine dispute and are submitted jointly:


       1.      In July 2009, Jodi Rouviere injured her right hip in a kitchen mishap. (Exh. A,

Deposition of Jodi Rouviere (“JR Dep.”), 68:21-69:12)

       2.      Over the next few years, Ms. Rouviere underwent multiple arthroscopic procedures

on her hips. (Id., 75:21-25; 80:25-81:8; 84:1-5; see also ECF No. 227, Plaintiffs’ Response to

DePuy Statement of Material Facts, ¶3)

       3.      Shortly after her third arthroscopic procedure, Ms. Rouviere was given a likely

diagnosis of Ehlers-Danlos Syndrome, a connective tissue disorder, by Deborah Barbouth, M.D.
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(Exh. A, JR Dep., 85:16-86:20; 91:16-92:14; see also ECF No. 227, Plaintiffs’ Response to DePuy

Statement of Material Facts, ¶4).

       4.      After failure of conservative treatment, on August 14, 2012, Ms. Rouviere

underwent a total right hip replacement surgery at the Hospital for Special Surgery in New York,

performed by Dr. Robert Buly. (Exh. B, Aug. 14, 2012 Operative Report)

       5.      During that surgery, Dr. Buly implanted a DePuy titanium femoral stem and

ceramic head, as well as a Stryker (i.e., HOC) MDM® liner and insert and acetabular cup. (Id.)

       6.      “The device caused injury upon implementation, physiological instability, toxicity,

and toxic result over time.” (Exh. C, Jodi Rouviere Interrogatory Responses, No. 9)

       7.      On multiple occasions in September 2012, Jodi Rouviere experienced “extreme

dizziness and vertigo,” as well as nausea and vomiting, and went to the Emergency Room on

September 11, 2012 as a result of these symptoms. (Exh. D, Jodi Rouviere 11/23/20 Declaration,

filed at ECF No. 233-19, ¶8; Exh. E, AR Declaration, filed at ECF No. 233-21, ¶9; Exh. M,

Sandhouse Records, pp. 285-286)

       8.      In November of 2012, Ms. Rouviere complained to her osteopath of increasing right

hip pain, as well as “searing, shooting pain down the right hip.” (Exh. M, Sandhouse Records, pp.

269-270)

       9.      Plaintiffs allege in the Amended Complaint that “Post-operatively, Ms. Rouviere’s

“MDM®X3®” ADM/MDM System, “The Restoration®” ADM/MDM System failed. [B]y by the

beginning of 2013, she experienced pain and loss of range of motion.” (ECF No. 26, Amended

Complaint, ¶209)

       10.     At her deposition, when asked how her health was in the middle and later part of

2013, Ms. Rouviere testified that as 2013 progressed, her decline worsened, including more pain,



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more instability and less function in her right hip. She also testified that during this timeframe,

her heart would start beating harder and her body was tiring. (Exh. A, JR Dep., 135:8- 136:1)

       11.     In October 2013, Ms. Rouviere treated with a neurologist, Dr. Brad Herskowitz,

complaining of headaches, heaviness in arms and legs, itching in her face and head, urinary

urgency and hesitancy, and feeling like she has slowed down in general. (Id. at 141:4-24) She

also continued to have hip pain at this time. (Id. at 142:4-7)

       12.     Treatment records from Ms. Rouviere’s osteopath, Dr. Mark Sandhouse, from mid-

to late 2013 reveal instability and pain in her right hip and displacement of the hip on multiple

occasions.    (Exh M, Sandhouse records: May 13, 2013 (displacement), May 29, 2013

(displacement); July 10, 2013 (right hip prosthesis bothering her, unstable and causing paresthesias

down the right leg); July 17, 2013 (right hip externally rotated); August 19, 2013 (right femur out);

September 11, 2013 (right hip feels out, “grinding”; right hip externally rotated); November 4,

2013 (right hip is “horrible”; pain radiates down past thigh))

       13.     In February 2014, Ms. Rouviere visited a neurologist, Dr. Simon Starosta-

Rubenstein, because she was concerned with her “functional neurological decline.” (Exh. C, JR

Interrogatory Responses, No. 2, and attachment to Responses, p. 30)

       14.     On June 27, 2014, Ms. Rouviere complained to her physical therapist of, among

other things, vertigo, dizziness and lightheadedness, blurred and double vision, vision flashes and

halos, tinnitus, nausea and vomiting, shaking episodes, tremors, changes in appetite, changes in

sleep patterns, poor coordination, numbness in her right leg, chronic pain, joint pain, muscle pain

at rest, hoarseness, speech difficulty with pain, weakness in legs and arms, and heart palpitations.

(Exh. N, Healy Physical Therapy records, pp. 2-5)

       15.     On May 17, 2015, Ms. Rouviere was admitted to Doctor’s Hospital because of

recurring episodes of instability of the right hip. The admission record notes that in addition to
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right hip pain, for the previous eight months Ms. Rouviere had been “having problems with

temperature regulation, tremors, blurred vision, cognitive impairment, dizziness and gaited

instability.” (Exh. O, Doctor’s Hospital Records) Regarding this visit, Ms. Rouviere stated in a

medical record exhibit filed with the Court: “My hip mispositions again. I cannot walk and am in

excruciating pain. I am admitted to Doctor’s Hospital (Coral Gables, FL) for 6 days of testing as I

believe my unstable hip and neurological symptoms could be relational [sic] to metallosis.” (Exh.

P, “Jodi Rouviere Medical,” filed at ECF No. 233-16, at 160)

       16.     In the Amended Complaint, Plaintiffs alleged that blood testing performed in May

2015 demonstrated “highly elevated Chromium level of 0.9 [mcg/L], Arsenic of [mcg/L]

5…Plaintiff has no source of exposure to chromium and cobalt and other metals that would account

for her elevated blood levels of chromium or cobalt and other metals other than the subject

product.” (ECF No. 26, Amended Complaint, ¶¶210, 217)

       17.     [See HOC’s Local Rule 56.1 Statement of Facts for this paragraph. Plaintiffs have

not agreed to joint submission of Paragraph 17 of HOC’s Local Rule 56.1 Statement of Facts.]

       18.     [See HOC’s Local Rule 56.1 Statement of Facts for this paragraph. Plaintiffs have

not agreed to joint submission of Paragraph 18 of HOC’s Local Rule 56.1 Statement of Facts.]

       19.     On November 11, 2016, Ms. Rouviere underwent a partial revision surgery to

remove and replace the MDM® liner and insert, as well as the DePuy femoral head. The revising

surgeon, Dr. Alvarado, observed that the DePuy titanium stem had impinged upon the MDM cobalt

chrome liner resulting in a notch in the neck of the titanium stem. He observed “a significant

amount of grayish brown soft tissue consistent with metal debris,” which he stated was indicative

of “metallosis.” (Exh. F, November 11, 2016 Operative Report; Exh. G, November 13, 2016

Discharge Summary; see also ECF No. 227, Plaintiffs’ Response to DePuy Statement of Material

Facts, ¶39)
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       20.     Ms. Rouviere testified that after the revision surgery, Dr. Alvarado told her that she

“was covered in metallosis” and that she had “pseudotumors consistent with damage to the tissue.”

(Exh. A, JR Dep., 168:10-22; 170:9-12)

       21.     Ms. Rouviere subsequently underwent two additional revision surgeries in

February 2017 and May 2017, respectively, to remove and replace various components in her right

hip. (Id., 180:6-11; 189:14-18; 192:22-193:2)

       22.     Ultimately, in October 2017, at Ms. Rouviere’s request, Dr. Alvarado performed a

Girdlestone procedure in which all of the hip components were removed. (Id., 203:1-5)

       23.     Among the injuries claimed by Ms. Rouviere in this action include physiological

instability, pain, swelling, inflammation, adverse tissue reaction, necrosis, pseudotumor,

metallosis, and toxicity resulting from metal debris generated by her hip components, as well as

decreased mobility of the hip. (ECF No. 26, Amended Complaint, ¶¶127-128; Exh. C, JR

Interrogatory Responses, No. 9; Exh. A, JR Dep., 168:10-22; 170:9-12)

       24.     Jodi Rouviere’s disclosed experts identified local and systemic injuries that they

opined were caused by metal debris released from her 2012 implants, including tissue damage and

necrosis, metallosis, chronic fatigue, nausea, headaches, weakness, dizziness/vertigo, cognitive

impairment, hip and other joint and muscle pain, tachycardia, dry eyes/blurred vision, and other

immunological and neurological symptoms. (Exh. H, Tervaert Expert Report, pp. 3, 5-7, 11; Exh.

L, Tervaert Dep., 89:18- 91:4, 132:11-14, 133:2-12; 134:9-18; Exh. I, Frank Gannon Expert

Report, p. 1; Exh. J, Bobst Expert Report, pp. 2-3; Exh. K, Bobst Deposition, pp. 74:13-75:21;

Exh. S, Jarrell Report, p. 8, ¶¶13-14)

       25.     Dr. J.W. Cohen Tervaert, Plaintiffs’ treating physician and disclosed expert

immunologist, initially examined Jodi Rouviere on April 30, 2019. He reported that Ms. Rouviere



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“mentioned that she suffered from fatigue since 2012.            The problems started after hip

implantation…” (Exh. H, Tervaert Expert Report, p. 3)

       26.     Dr. Tervaert diagnosed Ms. Rouviere with ASIA (Autoimmune Syndrome Induced

by Adjuvants) and opined that her ASIA syndrome was caused by the metal debris from the device

components implanted in August 2012. (Id., Tervaert Expert Report, pp. 1, 12)

       27.     Dr. Tervaert testified that he based his causation opinion on Ms Rouviere’s

reporting of symptoms consistent with ASIA in 2012 after her total hip replacement. He testified

at deposition: “[W]hat happened is that in 2012 the hip implants were placed, she started to develop

all the symptoms that are compatible with ASIA.” (Exh. H, Tervaert Dep., 132:11-14). He also

testified: “As mentioned, her ASIA symptoms started in 2012. The trigger can’t be in 2016 or

2017.” (Id. at 133:2-12) He also testified: “When I saw her, she mentioned that it [chronic fatigue]

started in 2012…after the hip implant.” (Id. at 134:9-18)

       28.     Dr. Sol Bobst, Plaintiffs’ expert toxicologist, opined in his expert report, “Exposure

to metals from medical device degradation is likely to have begun in 2012 following her first

surgery.” (Exh. J, Bobst Expert Report, p. 3)

       29.     In Paragraph 88 of the Amended Complaint, Plaintiffs allege:

               Defendants have long been aware, including before Plaintiff’s
               receipt of her Summit, that Summit Devices may result in
               metallosis, biologic toxicity, and high failure rate” and that the
               device components “when implanted, result[] [in] unsafe release of
               toxic metal particles and ions into hip implant recipients’ tissue and
               bloodstream. Plaintiff further alleges that Defendants were and
               continue to be aware that the metal particles from Summit Devices
               results in metallosis, tissue death and bone erosion.

               (ECF No. 26, Amended Complaint, ¶88)




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       30.     Plaintiffs allege that HOC was “at all relevant times” aware that the MDM® system

“resulted in unsafe release of toxic metal ions into the tissues and bloodstream of the recipients.”

(Id., Amended Complaint, ¶129)

       31.     Plaintiffs alleged that “[s]tudies published prior to the Plaintiffs implant in 2012

have shown that exposure to Titanium, Aluminum and other metals, hydroxyapatite and other

coatings and textures applied can cause severe inflammatory reaction secondary to wear particles

and/or host immunological sensitivity.” (Id., ¶143)

       32.     Dr. Buly testified to the following at deposition:

   •   He was aware well before August of 2012 that tissue reactions could be caused by metallic
       corrosion, allergic reactions, or the accumulation of metal wear debris (Exh. R, Buly Dep.,
       82:10-22)

   •   He was aware at the time of the August 2012 implant surgery that reaction to metal wear
       debris was a known risk in any total hip replacement. (Id., 290:20-292:3)

   •   He was aware in August 2012 that metal debris or metal ions from hip replacement
       components could lead to adverse tissue reaction and metallosis. (Id., 296:16-298:11)

       33.     Plaintiffs’ toxicology expert, Dr. Sol Bobst, opined in his expert report:

               Debris-Mediated Osteolysis is a known issue that includes a
               spectrum of effects that include bone loss when an implant fails and
               releases metal debris into the surrounding tissue (Clarke et al
               1992). Experimental studies in vitro evaluating the exposure of
               monocytes to Cobalt-Chromium nanoparticles and cobalt ions
               resulted in the release of THF-ɑ, a likely mechanism related to the
               osteolysis (bone loss) in vivo (Posada et al 2015). This is related to
               the known metal wear particles found in patients with metal hip
               replacements (Doorn et al 1998). The presence of metal ions in
               blood is also a recognized clinical indication used for evaluating the
               pathological impact of hip arthroplasty (Campbell et al 2014). A
               previous report in the literature of a patient that was implanted with
               a similar hip implant from the same manufacturer, around the same
               date and time as Ms. Rouviere, experienced Cobalt levels in the
               blood (Kao et al 2014). Neurological symptoms have also been
               reported as systemic toxicity related to metal hip prostheses and
               Cobalt (Bradberry et al 2014). Adverse effects on the immune
               system responding to the release of debris from hip replacements
               have also been documented (Brown et al 2005). Cognitive

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                 symptoms have also been reported for patients that have received
                 metal-on-metal hip prostheses that contain Cobalt. (Mao et al 2011).
                 The presence of Cobalt has also been associated with immune
                 response and osteo related pathology (Queally et al 2009, Brock &
                 Stopford 2003, Keegan et al 2007, Hart et al 2006)…

(Exh. J, Bobst Expert Report, pp. 2-3)

       34.       Plaintiffs’ biomedical engineering expert, Dr. John Jarrell, opined: “Reactions for

metal on metal contact, wear debris and corrosion as it related to hip implants is known and

documented in the scientific literature since at least 1975.” (Exh. S, Jarrell Expert Report, p. 34)

       35.       Dr. Jarrell also cited to a 1998 study in support of the following statement in his

expert report:

       The risks from metal debris, are however well established in the scientific literature where
       it states, “As a result of in vitro dissolution tests of metallic materials, Doi et al. also
       reported that the amounts of released metallic soluble ions increased with the presence
       of wear. These facts indicate that even metallic materials with high resistance to
       corrosion possibly corrode inside a body with the presence of wear. Therefore, it
       should be better that metallic biomaterials for artificial joints or long term implantations
       consist of metallic elements having relatively low toxicity, because the toxicity of
       biomaterials is the toxicity of released ions or debris, and all of the implanted metallic
       materials release metal ions or debris with the presence of wear (fretting).”

(Exh. S. Jarrell Report, pp. 36-37) (emphasis in original)


Dated: March 18, 2022                          Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was electronically served on the

following counsel of record via the Court’s electronic filing system on this 18th day of March,

2022:


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